Debtor Name               Munchery, Inc.
United States Bankruptcy Court for the Northern District of California
Case number (if known):                         19-30232

                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                    amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                             12/15



  Part 1:         Summary of Assets


  1. Schedule A/B: Assets - Real and Personal Property                                   (Official Form 206A/B)

    1a. Real property:
        Copy line 88 from Schedule A/B.......................................................................................................................                      $164,339.76



    1b. Total personal property:
        Copy line 91A fromSchedule A/B.....................................................................................................................                     $125,555,973.66



    1c. Total of all property:
        Copyline 92 from Schedule A/B.......................................................................................................................                    $125,720,313.42




 Part 2:          Summary of Liabilities




    2.    Schedule D: Creditors Who Have Claims Secured by Property             (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...........................                                                            $0.00



    3.    Schedule E/F: Creditors Who Have Unsecured Claims                                      (Official Form 206E/F)


         3a. Total of amounts of priority unsecured claims:
             Copy the total claims from Part 1 from the line 5a of Schedule E/F.............................................................                                         $83,479.25


         3b. Total amount of claims of nonpriority amount of unsecured claims:
             Copy the total amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                     +     $7,619,084.99




         4.   Total liabilities .........................................................................................................................................         $7,702,564.24
              Lines 2 + 3a + 3b




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United States Bankruptcy Court for the Northern District of California
Case number (if known):                19-30232
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing
Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                              12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases         (Official Form 206G).

Be complete and accurate as possible. If more space is needed, attach a separate spreadsheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the approriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest,
do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:        Cash and cash equivalents




 1.      Does the debtor have any cash or cash equivalents?


            No. Go to Part 2.

            Yes. Fill in the information below.



              All cash of cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                                    debtor's interest
 2.      Cash on hand                                                                                                                        $22,464.71


 3.      Checking, savings, money market, or financial brokerage accounts
         Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of account number
   3.1       Comerica Bank                                               Operating Checking                4668                               $6,558.63

   3.2       Comerica Bank                                               Payables Checking                 4718                               $3,928.73

   3.3       Comerica Bank                                               Payroll Sweep Account             4700                              $11,519.93

   3.4       Comerica Bank                                               Sales Revenue Sweep Account       4684                                 $457.42

 4.      Other cash equivalents


   4.1       Comerica Bank - Pledge Account 7071                                                                                            $241,522.37



 5.      Total of Part 1
                                                                                                                                            $286,451.79
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


Part 2:        Deposits and prepayments




 6.      Does the debtor have any deposits or prepayments?




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            No. Go to Part 3.

            Yes. Fill in the information below.



                                                                                                                           Current value of
                                                                                                                           debtor's interest
 7.      Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit
   7.1       Applied Underwriters                                                                                                   $89,856.00
             Workers Compensation Deposit

   7.2       Regency Centers                                                                                                         $1,000.00
             Potrero Parking Parking Deposits

   7.3       Armanino LLP                                                                                                           $30,000.00
             Retainer - Consulting Services

   7.4       Giant Eagle                                                                                                           $100,000.00
             Transaction Deposit

   7.5       Auto Chlor                                                                                                                $979.00
             Sanitation Machine Deposit

   7.6       Century Entertainment Inc.                                                                                              $5,200.00
             Office Space Deposit

   7.7       Amin Group, LLC                                                                                                        $13,260.00
             Fulfillment Center Deposit

   7.8       TableArt, Inc.                                                                                                         $13,382.00
             Fulfillment Center Deposit

   7.9       SEMKKANN, LLC                                                                                                           $4,481.00
             Fulfillment Center Deposit

   7.10      Townhouse Management (First York 86th Street Company)                                                                  $30,000.00
             Fulfillment Center Deposit

   7.11      Windsor Owners Corp                                                                                                    $15,000.00
             Fulfillment Center Deposit

   7.12      TF Cornerstone/95-97 Horatio LLC                                                                                       $50,115.00
             NY Production Facility Deposit

   7.13      Eureka Ventures VI                                                                                                    $300,000.00
             SF Production Facility Deposit

   7.14      Farzaneh Amini                                                                                                         $11,000.00
             Fulfillment Center Deposit

 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment




 9.      Total of Part 2
                                                                                                                                   $664,273.00
         Add lines 7 through 8. Copy the total to line 81.


Part 3:        Accounts Receivable




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 10. Does the debtor have any accounts receivable?


          No. Go to Part 4.

          Yes. Fill in the information below.



                                                                                                                                         Current value of
                                                                                                                                         debtor's interest
 11. Accounts receivable


     11a. 90 days old or less:                                  $17,092.85     -                             $0.00 =                             $17,092.85
                                          face amount                               doubtful or uncollectible accounts
     11b. Over 90 days old:                                    $191,838.60     -                             $0.00 =                            $191,838.60
                                          face amount                               doubtful or uncollectible accounts



 12. Total of Part 3
                                                                                                                                               $208,931.45
      Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments




 13. Does the debtor own any investments?


          No. Go to Part 5.

          Yes. Fill in the information below.



                                                                                                                Valuation method         Current value of
                                                                                                                used for current value   debtor's interest
 14. Mutual funds of publicly traded stocks not included in Part 1
      Name of fund or stock:



 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
      Name of entity:                                             % of ownership:



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:




 17. Total of Part 4
      Add lines 14 through 16. Copy the total to line 83.


Part 5:      Inventory, excluding agricultural assets




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 18. Does the debtor own any inventory (excluding agricultual assets)?


          No. Go to Part 6.

          Yes. Fill in the information below.



           General description                   Date of the last      Net book value of                Valuation method         Current value of
                                                 physical inventory    debtor's interest                used for current value   debtor's interest
 19. Raw Materials




 20. Work in progress




 21. Finished goods, including goods held for resale




 22. Other inventory or supplies




 23. Total of Part 5
      Add lines 19 through 22. Copy the total to line 84.




 24. Is any of the property listed in Part 5 perishable?


          No.

          Yes.



 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.      Book Value $                            Valuation Method                      Current Value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?


          No.

          Yes.



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)




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27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


       No. Go to Part 7.

       Yes. Fill in the information below.



         General description                                         Net book value of               Valution method used    Current value of
                                                                     debtor's interest               for current value       debtor's interest
28. Crops - either planted of harvested




29. Farm animals
    Examples: Livestock, poultry, farm-raised fish



30. Farm machinery and equipment
    (Other than titled motor vehicles)



31. Farm and fishing supplies, chemicals, and feed




32. Other farming and fishing-related property not already listed in Part 6




33. Total of Part 6
    Add lines 28 through 32. Copy the total to line 85.




34. Is the debtor a member of an agricultural cooperative?


       No.

       Yes.



    Is any of the debtor's property stored at the cooperative?


       No.

       Yes.



35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?


       No.

       Yes.       Book Value $                            Valuation Method                     Current Value $




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 36. Is a depreciation schedule available for any of the property listed in Part 6?


          No.

          Yes.




 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


          No.

          Yes.



Part 7:      Office furniture, fixtures, and equipment; and collectibles




 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


          No. Go to Part 8.

          Yes. Fill in the information below.



           General description                                           Net book value of                        Valuation method           Current value of
                                                                         debtor's interest                        used for current value     debtor's interest
 39. Office furniture


   39.1   Office Furniture                                             $33,432.85                                  Unknown                               $33,432.85

 40. Office fixtures


   40.1   Leasehold Improvements                                       $3,755,210.17                               Unknown                         $3,755,210.17

 41. Office equipment, including all computer equipment and communication systems equipment and software


   41.1   Computer Equipment                                           $29,565.00                                  Unknown                               $29,565.00

 42. Collectibles
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or
      baseball card collections; other collections, memorabilia, or collectibles




 43. Total of Part 7.
                                                                                                                                                  $3,818,208.02
      Add lines 39 through 42. Copy the total to line 86.




 44. Is a depreciation schedule available for any of the property listed in Part 7?


          No.

          Yes.




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 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


          No.

          Yes.



Part 8:      Machinery, equipment, and vehicles




 46. Does the debtor own or lease any machinery, equipment, or vehicles?


          No. Go to Part 9.

          Yes. Fill in the information below.



           General description                                         Net book value of               Valuation method         Current value of
                                                                       debtor's interest               used for current value   debtor's interest
 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles




 48. Watercraft, trailers, motors, and related accessories
      Examples: Boats, trailers, motors, floating homes, personal watercraft, fishing vessels



 49. Aircraft and accessories




 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)


   50.1   Kitchen Equipment                                           $1,396,593.40                     Unknown                      $1,396,593.40



 51. Total of Part 8.
                                                                                                                                    $1,396,593.40
      Add lines 47 through 50. Copy the total to line 87.




 52. Is a depreciation schedule available for any of the property listed in Part 8?


          No.

          Yes.




 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?




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           No.

           Yes.



Part 9:       Real property




 54. Does the debtor own or lease any real property?


           No. Go to Part 10.

           Yes. Fill in the information below.



 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




   55.1    See attached Schedule A/B Exhibit 55                                                                                                 $164,339.76



 56. Total of Part 9.
                                                                                                                                               $164,339.76
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




 57. Is a depreciation schedule available for any of the property listed in Part 9?


           No.

           Yes.




 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?


           No.

           Yes.



Part 10:      Intangibles and intellectual property




 59. Does the debtor have any interests in intangibles or intellectual property?


           No. Go to Part 11.

           Yes. Fill in the information below.



            General description                                        Net book value of                        Valuation method         Current value of
                                                                       debtor's interest                        used for current value   debtor's interest



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60. Patents, copyrights, trademarks, or trade secrets


  60.1   Trademark in Munchery Trade Name                        Unknown                                  Unknown                    Unknown

61. Internet domain names and websites


  61.1   See attached Schedule A/B Exhibit                                                                                           Unknown

62. Licenses, franchises, and royalties


  62.1   Giant Eagle - License to the Business’s Technology      $3,181,516.00                            Unknown               $3,181,516.00

63. Customer lists, mailing lists, or other compilations


  63.1   Customer Lists in San Francisco, Los Angeles,           Unknown                                  Unknown                    Unknown
         New York, and Seattle

64. Other intangibles, or intellectual property


  64.1   Software technology platform to operate the             Unknown                                  Unknown                    Unknown
         business and related administrative tools

  64.2   Over 3000 recipes with photographs                      Unknown                                  Unknown                    Unknown

  64.3   Customer ordering/ behavior data                        Unknown                                  Unknown                    Unknown

65. Goodwill




66. Total of Part 10.
                                                                                                                                $3,181,516.00
     Add lines 60 through 65. Copy the total to line 89.




67. Do your lists or records include personally identifiable information of customers?


         No.

         Yes.




68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?


         No.

         Yes.




69. Has any of the property listed in Part 10 been appraised by a professional within the last year?




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           No.

           Yes.



Part 11:      All other assets




 70. Does the debtor own any other assets that have not yet been reported on this form?


           No. Go to Part 12.

           Yes. Fill in the information below.



                                                                                                                                     Current value of
                                                                                                                                     debtor's interest
 71. Notes receivable
      Description (include name of obligor)
                                                                                -                                 =
                                                            Total face amount       Doubtful or uncollectible amount
 72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)
   72.1    Federal and State NOL's                                                                          Multiple years through     $116,000,000.00
                                                                                                            6/2017

 73. Interests in insurance policies or annuities




 74. Causes of action against third parties (whether or not a lawsuit has
     been filed)



       Nature of claim
       Amount Requested
 75. Other contingent and unliquidated claims or causes of action of every
     nature, including counterclaims of the debtor and rights to set off
     claims



       Nature of claim
       Amount Requested
 76. Trusts, equitable or future interests in property




 77. Other property of any kind not already listed
      Examples: Season tickets, country club membership




 78. Total of Part 11.
                                                                                                                                       $116,000,000.00
      Add lines 71 through 77. Copy the total to line 90.



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 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


           No.

           Yes.



Part 12:     Summary

            Type of property                                                                        Current value of                             Current value of
                                                                                                    personal property                            real property


   80. Cash, cash equivalents, and financial assets.               Copy line 5, Part 1.                     $286,451.79


   81. Deposits and prepayments.          Copy line 9, Part 2.                                              $664,273.00


   82. Accounts receivable.        Copy line 12, Part 3.                                                    $208,931.45


   83. Investments. Copy line 17, Part 4.


   84. Inventory. Copy line 23, Part 5.


   85. Farming and fishing-related assets.          Copy line 33, Part 6.



   86. Office furniture, fixtures, and equipment; and collectibles.                                      $3,818,208.02
       Copy line 43, Part 7.


   87. Machinery, equipment, and vehicles.              Copy line 51, Part 8.                            $1,396,593.40


   88. Real Property.      Copy line 56, Part 9.                                                                                                          $164,339.76



   89. Intangibles and intellectual property.           Copy line 66, Part 10.                           $3,181,516.00


   90. All other assets.       Copy line 78, Part 11.                                                 $116,000,000.00


   91. Total. Add lines 80 through 90 for each column.                                      91a.      $125,555,973.66               +     91b.             $164,339.76



   92. Total of all property on Schedule A/B.           Lines 91a + 91b = 92.................................................................................................   $125,720,313.42




   Official FormCase:
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         SCHEDULES OF ASSETS AND LIABILITIES


                     EXHIBIT FOR SCHEDULE AB

                           PART 9, QUESTION 55

     ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR
     LAND WHICH THE DEBTOR OWNS OR IN WHICH THE
                DEBTOR HAS AN INTEREST




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Munchery, Inc.
Case No. 19-30232
Schedule AB-55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

                                                                                                             Nature and Extent of        Net Book       Valuation   Current
              Landord                         Location of Property                      Description
                                                                                                              Debtor's Interest           Value          Method      Value
                                    220 Shaw Rd, South San Francisco, CA
  Eureka Ventures VI                94080                                         Kitchen/Distribution       Leased Property               $87,748.36   Unknown     $87,748.36
  Farzaneh Amini                    935 Howard St, San Francisco, CA 94103        Fulfillment Center         Leased Property                $6,190.00   Unknown      $6,190.00
  Breather Products Inc             165 10th St, San Francisco, CA 94103          Executive Office           Leased Property                $9,300.00   Unknown      $9,300.00
  Century Entertainment Inc.        4508 Del Rey Ave, Los Angeles, CA 90292       Office Kiosk w/ 2 spaces   Leased Property                $2,600.00   Unknown      $2,600.00
                                                                                                             Leased Property -
  Amin Group, LLC                  3200 Olympic Blvd, Santa Monica, CA 90404                                 Currently Subleased            $8,528.89   Unknown      $8,528.89
                                   5242 West Washington Blvd, Los Angeles,                                   Leased Property -
  TableArt, Inc.                   CA 90016                                                                  Currently Subleased            $6,691.15   Unknown      $6,691.15
  SEMKKANN, LLC                    3025 1st Ave, Ste B, Seattle, WA 98121         Belltown FC                Leased Property                $6,349.00   Unknown      $6,349.00
                                   1207 S. Jackson St, Ste 209, Seattle, WA
  Asian Pacific Properties, LLC    98144 (Ding How Center)                        Kitchen/Distribution       Leased Property                Unknown     Unknown       Unknown
                                   1207 S. Jackson St, Ste 210, Seattle, WA
  Asian Pacific Properties, LLC    98144 (Ding How Center)                        Kitchen/Distribution       Leased Property                Unknown     Unknown       Unknown
                                   5 Tudor City Pl, New York, NY 10017 (701 1st                              Leased Property -
  Windsor Owners Corp              Ave)                                           Fulfillment Center         Currently Subleased            $7,956.75   Unknown      $7,956.75
                                   95-97 Horatio St, New York, NY 10014 (521                                 Leased Property -
  TF Cornerstone/95-97 Horatio LLC West St)                                       HQ/Kitchen/Distribution    Currently Subleased           $17,720.61   Unknown     $17,720.61
  Townhouse Management (First                                                                                Leased Property -
  York 86th Street Company)        435 East 86th St, New York, NY 10028           Fulfillment Center         Currently Subleased           $11,255.00   Unknown     $11,255.00




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         SCHEDULES OF ASSETS AND LIABILITIES


                     EXHIBIT FOR SCHEDULE AB

                           PART 10, QUESTION 61

           INTERNET DOMAIN NAMES AND WEBSITES




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Munchery, Inc.
Case No. 19-30232
Schedule A/B Exhibit: 61. Internet domain names and websites

    General Description       Net Book Value          Valuation Method        Current Value
battleforthemenu.com                Unknown                Unknown               Unknown
goeatbetter.com                     Unknown                Unknown               Unknown
lab32.io                            Unknown                Unknown               Unknown
mnch.es                             Unknown                Unknown               Unknown
mnch.in                             Unknown                Unknown               Unknown
mnch.io                             Unknown                Unknown               Unknown
mnch.it                             Unknown                Unknown               Unknown
mnch.li                             Unknown                Unknown               Unknown
mnch.me                             Unknown                Unknown               Unknown
mnch.us                             Unknown                Unknown               Unknown
munchery.cafe                       Unknown                Unknown               Unknown
munchery.cc                         Unknown                Unknown               Unknown
munchery.club                       Unknown                Unknown               Unknown
munchery.co                         Unknown                Unknown               Unknown
munchery.com                        Unknown                Unknown               Unknown
munchery.cooking                    Unknown                Unknown               Unknown
munchery.delivery                   Unknown                Unknown               Unknown
munchery.farm                       Unknown                Unknown               Unknown
munchery.info                       Unknown                Unknown               Unknown
munchery.kitchen                    Unknown                Unknown               Unknown
munchery.life                       Unknown                Unknown               Unknown
munchery.market                     Unknown                Unknown               Unknown
munchery.me                         Unknown                Unknown               Unknown
munchery.menu                       Unknown                Unknown               Unknown
munchery.net                        Unknown                Unknown               Unknown
munchery.org                        Unknown                Unknown               Unknown
munchery.restaurant                 Unknown                Unknown               Unknown
munchery.store                      Unknown                Unknown               Unknown
munchery.team                       Unknown                Unknown               Unknown
munchery.tv                         Unknown                Unknown               Unknown
themunchery.com                     Unknown                Unknown               Unknown




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Debtor Name            Munchery, Inc.
United States Bankruptcy Court for the Northern District of California
Case number (if known):                  19-30232                                                                                                              Check if this is an
                                                                                                                                                               amended filing
Official Form 206D
Schedule D - Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
   X Yes. Fill in all of the information below.
  Part 1:         List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one
                                                                                                                                       Amount of Claim            Value of collateral
   secured claim, list the creditor separately for each claim.                                                                           Do not deduct the        that supports this
                                                                                                                                         value of collateral      claim
2.1   Creditor's name                                                  Describe debtor's property that is subject to a lien
      APPLE FINANCIAL SERVICES                                         UCC
                                                                                                                                               UNKNOWN                    UNKNOWN
      Creditor's mailing address
      P.O. BOX 35701
      BILLINGS, MT 59107-5701
                                                                       Describe the lien

                                                                        Equipment Leased and Proceeds
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 12/01/2014 & 01/25/2016                       No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Specify each creditor, including this               As of the petition filing date, the claim is:
              creditor, and its relative priority.
                                                                        X Contingent
                                                                        X Unliquidated
                                                                        X Disputed




2.2   Creditor's name                                                  Describe debtor's property that is subject to a lien
      COMERICA BANK                                                    UCC
                                                                                                                                               UNKNOWN                    UNKNOWN
      Creditor's mailing address
      39200 W. SIX MILE RD
      LIVONIA, MI 48152-2656
                                                                       Describe the lien

                                                                        Accounts & Assets
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 12/30/2014                                    No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,        X Contingent
             and its relative priority.
                                                                        X Unliquidated
                                                                        X Disputed
             Yes. The relative priority of creditors is specified on
             lines



3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                                   $0.00
   Page, if any.
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Debtor Name           Munchery, Inc.                                                                                     Case number (if known): 19-30232


 Part 1:          Additional Page(s)
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                      Amount of Claim       Value of collateral
  previous page.                                                                                                                       Do not deduct the     that supports this
                                                                                                                                       value of collateral   claim

2.3   Creditor's name                                                  Describe debtor's property that is subject to a lien
      CORPORATION SERVICE COMPANY                                      UCC
                                                                                                                                                UNKNOWN               UNKNOWN
      Creditor's mailing address
      P.O. BOX 2576
      SPRINGFIELD, IL 62708-2576
                                                                       Describe the lien

                                                                        Computer Equipment
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 07/08/2014, 08/12/2014, 08/2                  No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,        X Contingent
             and its relative priority.
                                                                        X Unliquidated
                                                                        X Disputed
             Yes. The relative priority of creditors is specified on
             lines

2.4   Creditor's name                                                  Describe debtor's property that is subject to a lien
      BV EVENTURE FUND II, LP                                          UCC
                                                                                                                                                UNKNOWN               UNKNOWN
      Creditor's mailing address
      600 MONTGOMERY ST, 473RD FL
      SAN FRANCISCO, CA 94111-2818
                                                                       Describe the lien

                                                                        Assets
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 2/16/2017                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,        X Contingent
             and its relative priority.
                                                                        X Unliquidated
                                                                        X Disputed
             Yes. The relative priority of creditors is specified on
             lines




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Debtor Name           Munchery, Inc.                                                                                     Case number (if known): 19-30232


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                      Amount of Claim       Value of collateral
  previous page.                                                                                                                       Do not deduct the     that supports this
                                                                                                                                       value of collateral   claim

2.5   Creditor's name                                                  Describe debtor's property that is subject to a lien
      MENLO ENTREPRENEURS FUND XII, LP                                 UCC
                                                                                                                                                UNKNOWN               UNKNOWN
      Creditor's mailing address
      3000 SAND HILL RD, 100
      MENLO PARK, CA 94025-7113
                                                                       Describe the lien

                                                                        Assets
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 2/16/2017                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,        X Contingent
             and its relative priority.
                                                                        X Unliquidated
                                                                        X Disputed
             Yes. The relative priority of creditors is specified on
             lines

2.6   Creditor's name                                                  Describe debtor's property that is subject to a lien
      MENLO VENTURES XI, LP                                            UCC
                                                                                                                                                UNKNOWN               UNKNOWN
      Creditor's mailing address
      3000 SAND HILL RD, 100
      MENLO PARK, CA 94025-7113
                                                                       Describe the lien

                                                                        Assets
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 2/16/2017                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,        X Contingent
             and its relative priority.
                                                                        X Unliquidated
                                                                        X Disputed
             Yes. The relative priority of creditors is specified on
             lines




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Debtor Name           Munchery, Inc.                                                                                     Case number (if known): 19-30232


 Part 1:          Additional Page(s)
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                      Amount of Claim       Value of collateral
  previous page.                                                                                                                       Do not deduct the     that supports this
                                                                                                                                       value of collateral   claim

2.7   Creditor's name                                                  Describe debtor's property that is subject to a lien
      MENLO VENTURES XII, LP                                           UCC
                                                                                                                                                UNKNOWN               UNKNOWN
      Creditor's mailing address
      3000 SAND HILL RD, 100
      MENLO PARK, CA 94025-7113
                                                                       Describe the lien

                                                                        Assets
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 2/16/2017                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,        X Contingent
             and its relative priority.
                                                                        X Unliquidated
                                                                        X Disputed
             Yes. The relative priority of creditors is specified on
             lines

2.8   Creditor's name                                                  Describe debtor's property that is subject to a lien
      MMEF XI, LP                                                      UCC
                                                                                                                                                UNKNOWN               UNKNOWN
      Creditor's mailing address
      3000 SAND HILL RD, 100
      MENLO PARK, CA 94025-7113
                                                                       Describe the lien

                                                                        Assets
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 2/16/2017                                     No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,        X Contingent
             and its relative priority.
                                                                        X Unliquidated
                                                                        X Disputed
             Yes. The relative priority of creditors is specified on
             lines




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Debtor Name            Munchery, Inc.                                                                                     Case number (if known): 19-30232


  Part 1:          Additional Page(s)
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  previous page.                                                                                                                        Do not deduct the     that supports this
                                                                                                                                        value of collateral   claim

2.9    Creditor's name                                                  Describe debtor's property that is subject to a lien
       MMEF XII, LP                                                     UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       3000 SAND HILL RD, 100
       MENLO PARK, CA 94025-7113
                                                                        Describe the lien

                                                                         Assets
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 2/16/2017                                     No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines

2.10   Creditor's name                                                  Describe debtor's property that is subject to a lien
       OCEAN BEAUTY SEAFOODS LLC                                        UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       P.O. BOX 70739
       SEATTLE, WA 98127-1539
                                                                        Describe the lien

                                                                         Equipment
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 7/23/2018                                     No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines




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Debtor Name            Munchery, Inc.                                                                                     Case number (if known): 19-30232


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  previous page.                                                                                                                        Do not deduct the     that supports this
                                                                                                                                        value of collateral   claim

2.11   Creditor's name                                                  Describe debtor's property that is subject to a lien
       SHERPAEVEREST FUND, LP                                           UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       800 MARKET ST, STE 800
       SAN FRANCISCO, CA 94102-3033
                                                                        Describe the lien

                                                                         Assets
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 2/16/2017                                     No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines

2.12   Creditor's name                                                  Describe debtor's property that is subject to a lien
       SHERPA VENTURES FUND, LP                                         UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       800 MARKET ST, STE 800
       SAN FRANCISCO, CA 94102-3033
                                                                        Describe the lien

                                                                         Assets
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 2/16/2017                                     No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines




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Debtor Name            Munchery, Inc.                                                                                     Case number (if known): 19-30232


  Part 1:          Additional Page(s)
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  previous page.                                                                                                                        Do not deduct the     that supports this
                                                                                                                                        value of collateral   claim

2.13   Creditor's name                                                  Describe debtor's property that is subject to a lien
       SYSCO LOS ANGELES, INC.                                          UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       20701 E. CURRIER RD
       WALNUT, CA 91789-2904
                                                                        Describe the lien

                                                                         Inventory
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 6/27/2018                                     No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines

2.14   Creditor's name                                                  Describe debtor's property that is subject to a lien
       SYSCO SAN FRANCISCO, INC.                                        UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       5900 STEWART AVE
       FREMONT, CA 94538-3134
                                                                        Describe the lien

                                                                         Inventory
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 10/27/2017                                    No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines




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  Part 1:          Additional Page(s)
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                       Amount of Claim       Value of collateral
  previous page.                                                                                                                        Do not deduct the     that supports this
                                                                                                                                        value of collateral   claim

2.15   Creditor's name                                                  Describe debtor's property that is subject to a lien
       TRIPLEPOINT VENTURE GROWTH BDC CORP.                             UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       2755 SAND HILL RD, STE 150
       MENLO PARK, CA 94025-7087
                                                                        Describe the lien

                                                                         Unspecified
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 6/30/2016                                     No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines

2.16   Creditor's name                                                  Describe debtor's property that is subject to a lien
       XEROX FINANCIAL SERVICES                                         UCC
                                                                                                                                                 UNKNOWN               UNKNOWN
       Creditor's mailing address
       45 GLOVER AVE
       NORWALK, CT 06850-1238
                                                                        Describe the lien

                                                                         Xerox Equipment
       Creditor's email address, if known
                                                                        Is the creditor an insider or related party?

       Date debt was incurred 6/18/2015                                     No
                                                                            Yes
       Last four digits of
       account number
                                                                        Is anyone else liable on this claim?
       Do multiple creditors have an interest in the same
       property?                                                            No
              No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Have you already specified the relative              As of the petition filing date, the claim is:
              priority?
              No. Specify each creditor, including this creditor,        X Contingent
              and its relative priority.
                                                                         X Unliquidated
                                                                         X Disputed
              Yes. The relative priority of creditors is specified on
              lines




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Debtor Name            Munchery, Inc.
United States Bankruptcy Court for the Northern District of California
Case number (if known):               19-30232                                                                                       Check if this is an
                                                                                                                                     amended filing
Official Form 206E/F
Schedule E/F - Creditors Who Have Claims Unsecured Claims                                                                                          12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

  Part 1:        List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?
       No. Go to Part 2.
      X Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part.If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                                Total claim            Priority amount

2.1        Priority creditor's name and mailing address         As of the petition filing date, the claim is:       $23,479.25               $23,479.25
           CITY AND COUNTY OF SAN FRANCISCO
           BUREU OF DELINQUENT REVENUE                           X Contingent
           ATTN:EDMUNDO BORGEN                                   X Unliquidated
           P.O. BOX 7027
           SAN FRANCISO, CA 94120-7027                           X Disputed

                                                                 Basis for the claim:
           Date or dates debt was incurred
                                                                 TAXES
           6/21/2018

           Last 4 digits of account
           number                                                Is the claim subject to offset?
                                                                      No
           Specify Code subsection of PRIORITY unsecured              Yes
           claim: 11 U.S.C. § 507(a) ( 8    )

2.2        Priority creditor's name and mailing address         As of the petition filing date, the claim is:       $10,000.00               $10,000.00
           DELAWARE SECRETARY OF STATE
           DIVISION OF CORPORATIONS                              X Contingent
           P.O. BOX 5509                                         X Unliquidated
           BINGHAMTON, NY 13902-5509
                                                                 X Disputed

                                                                 Basis for the claim:
           Date or dates debt was incurred
                                                                 TAXES



           Last 4 digits of account
           number                                                Is the claim subject to offset?
                                                                      No
           Specify Code subsection of PRIORITY unsecured              Yes
           claim: 11 U.S.C. § 507(a) ( 8    )

2.3        Priority creditor's name and mailing address         As of the petition filing date, the claim is:            $0.00                     $0.00
           LOS ANGELES COUNTY TAX COLLECTOR
           P.O. BOX 54027                                        X Contingent
           LOS ANGELES, CA 90054                                 X Unliquidated
                                                                 X Disputed

                                                                 Basis for the claim:
           Date or dates debt was incurred
                                                                 TAXES



           Last 4 digits of account
           number                                                Is the claim subject to offset?
                                                                      No
           Specify Code subsection of PRIORITY unsecured              Yes
           claim: 11 U.S.C. § 507(a) ( 8    )




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Debtor Name            Munchery, Inc.                                                           Case number (if known): 19-30232

   Part 1:       Additional Page
                                                                                                            Total claim       Priority amount


2.4       Priority creditor's name and mailing address    As of the petition filing date, the claim is:      $50,000.00               $50,000.00
          SAN MATEO COUNTY
          555 COUNTY CENTER                                X Contingent
          REDWOOD CITY, CA 94063                           X Unliquidated
                                                           X Disputed

                                                          Basis for the claim:
          Date or dates debt was incurred
                                                          TAXES



          Last 4 digits of account
          number                                          Is the claim subject to offset?
                                                               No
          Specify Code subsection of PRIORITY unsecured        Yes
          claim: 11 U.S.C. § 507(a) ( 8    )




Official Form 206E/F
                Case: 19-30232            Schedule
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Debtor Name            Munchery, Inc.                                                          Case number (if known): 19-30232

  Part 2:         List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim

3.1      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:             $1,544,720.02
         - SEE ATTACHED EXHIBIT -
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              GIFT CARDS
                                                                      NOT REDEEMED


         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.2      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:             $1,238,995.16
         - SEE ATTACHED EXHIBIT -
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              GIFT CARDS
                                                                      REDEEMED


         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.3      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $116,216.00
         - SEE ATTACHED EXHIBIT -
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              GROUP GIFTS
                                                                      NOT REDEEMED


         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.4      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $339,082.58
         - SEE ATTACHED EXHIBIT -
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              GROUP GIFTS
                                                                      REDEEMED


         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                          Amount of claim


3.5      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $4,750.00
         72 POINT
         231 FRONT ST, STE 125                                            Contingent
         BROOKLYN, NY 11201
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.6      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $614.13
         AALABEL INC
         6958 SIERRA CT                                                   Contingent
         DUBLIN, CA 94568
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.7      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $4,617.74
         ACC BUSINESS
         P.O. BOX 105306                                                  Contingent
         ATLANTA, GA 30348-5306
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1205747
                                                                           No
                                                                           Yes




3.8      Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $1,581.58
         ACTIVE PERSONNEL
         41 WEST 33RD ST                                                  Contingent
         NEW YORK, NY 10001
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.9      Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:               $24,756.44
         ADP, LLC
         P.O. BOX 31001-1874                                               Contingent
         PASADENA, CA 91110
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




3.10     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $1,050.24
         ADVANTAGE TELECOM
         5242 W WASHINGTON 2300                                            Contingent
         P.O. BOX 5454
         VENTURA, CA 93005-0454
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         2300
                                                                            No
                                                                            Yes




3.11     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $2,421.52
         ADVANTAGE TELECOM - 3200 OLYMPIC (2295)
         P.O. BOX 5454                                                     Contingent
         VENTURA, CA 93005-0454
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         2295
                                                                            No
                                                                            Yes




3.12     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $5,626.45
         ALCHEMY OF BAKING
         1248 WEST 134TH ST, STE 4                                         Contingent
         GARDENA, CA 90247
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                          Amount of claim


3.13     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               UNKNOWN
         AMERICAN EXPRESS
         P.O. BOX 650448                                               X Contingent
         DALLAS, TX 75265-0448
                                                                       X Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.14     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $884.25
         AMERICOLD, INC.
         80 SMITH ST, STE 2                                               Contingent
         FARMINGDALE, NY 11735
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1130157
                                                                           No
                                                                           Yes




3.15     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $17,509.52
         AMIN GROUP, LLC
         4367 CLEAR VALLEY DR                                             Contingent
         ENCINO, CA 91436
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LANDLORD



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.16     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $2,750.00
         ANALYTICS PROS, INC.
         5325 BALLARD AVE NW, STE 300                                     Contingent
         SEATTLE, WA 98107
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                          Amount of claim


3.17     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $14.05
         APPLE FINANCIAL SERVICES 8220
         P.O. BOX 30310                                                   Contingent
         LOS ANGELES, CA 90030
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         90136458220
                                                                           No
                                                                           Yes




3.18     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $21,211.64
         AREA DISTRIBUTOR - 220 SHAW
         P.O. BOX 8589                                                    Contingent
         SAN JOSE, CA 95155
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         323092 + 323080
                                                                           No
                                                                           Yes




3.19     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $16,522.80
         ARTISAN MACARON
         255 MENDELL ST                                                   Contingent
         SAN FRANCISCO, CA 94124
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.20     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $28,416.19
         ASTRONOVA, INC.
         P.O. BOX 419820                                                  Contingent
         BOSTON, MA 02241-9820
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         426546
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.21     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $4,202.86
         AUTO CHLOR
         971 25TH ST                                                       Contingent
         SAN FRANCISCO, CA 94107
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         31016724
                                                                            No
                                                                            Yes




3.22     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $1,970.86
         AUTO-CHLOR SYSTEM - SEATTLE
         4315 7TH AVE S                                                    Contingent
         SEATTLE, WA 98108
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         141100006
                                                                            No
                                                                            Yes




3.23     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $4,498.93
         AUTOMATED PACKAGING SYSTEMS
         10175 PHILLIPP PKWY                                               Contingent
         STREETSBORO, OH 44241
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         59797
                                                                            No
                                                                            Yes




3.24     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $1,379.31
         AWARE GPS
         16305 SWINGLEY RIDGE RD, STE 100                                  Contingent
         CHESTERFIELD, MO 63017
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                          Amount of claim


3.25     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $850.00
         BAKER COMMODITIES
         4020 BANDINI BLVD                                                Contingent
         VERNON, CA 90058
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         24875-00
                                                                           No
                                                                           Yes




3.26     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $15,520.49
         BALDOR
         P.O. BOX 5411                                                    Contingent
         NEW YORK, NY 10087-5411
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNCHE
                                                                           No
                                                                           Yes




3.27     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $2,531.97
         BARGREEN ELLINGSON
         LOCKBOX 310055                                                   Contingent
         P.O. BOX 94328
         SEATTLE, WA 98124-6628
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         105-39000634
                                                                           No
                                                                           Yes




3.28     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $130.00
         BASIC PACIFIC
         P.O. BOX 775339                                                  Contingent
         CHICAGO, IL 60677-5339
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.29     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,200.00
         BAUMAR
         253 CAPP ST                                                      Contingent
         SAN FRANCISCO, CA 94110
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.30     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $18,776.49
         BAY ALARM COMPANY
         P.O. BOX 7137                                                    Contingent
         SAN FRANCISCO, CA 94120-7137
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         3107134
                                                                           No
                                                                           Yes




3.31     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,865.50
         BERTAGNI 1882 USA
         1672 WILLAMETTE FALLS DR, STE B                                  Contingent
         PORTLAND, OR 97068
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.32     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,500.00
         BETTER WORLD B2B, LLC
         50 TRISH CT                                                      Contingent
         DANVILLE, CA 94506
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.33     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,438.65
         BHB PEST ELIMINATION
         150 W 28 ST, STE 702                                             Contingent
         NEW YORK, NY 10001
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         2628
                                                                           No
                                                                           Yes




3.34     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $10,803.58
         BIG JOE CALIFORNIA NORTH, INC.
         25932 EDEN LANDING RD                                            Contingent
         HAYWARD, CA 94545
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.35     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $8,608.49
         BLP WHOLESALE
         50 CONSTANCE CT                                                  Contingent
         HAUPPAUGE, NY 11788
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.36     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $18,168.00
         BLUESHIFT LABS, INC.
         231 SANSOME ST, STE 300                                          Contingent
         SAN FRANCISCO, CA 94104
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.37     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,677.48
         BREX
         153 TOWNSEND ST, 6TH FL                                          Contingent
         SAN FRANCISCO, CA 94107
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.38     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $16,000.00
         BRIGHTEDGE TECHNOLOGIES, INC.
         989 E. HILLSDALE BLVD, STE 300                                   Contingent
         FOSTER CITY, CA 94404
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.39     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,101.73
         BRINKS SECURITY/MONITRONICS INTRNL
         C/O ROSENTHAL, MORGAN, AND THOMAS, INC.                          Contingent
         12747 OLIVE BLVD, STE 250
         ST. LOUIS, MO 63141
                                                                          Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.40     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,011.42
         BROWN LINE, LLC
         P.O. BOX 34026                                                   Contingent
         SEATTLE, WA 98124-1026
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MU4081
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.41     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $165.00
         BRUSIK QUALITY APPLIANCES
         50 CHUMASERO DR, APT 1D                                          Contingent
         SAN FRANCISCO, CA 94132
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.42     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $565.05
         BUTTERMILK BAKESHOP
         260 5TH AVE                                                      Contingent
         BROOKLYN, NY 11215
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.43     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $7,500.00
         CALIFORNIA ALUMNI ASSOCIATION
         1 ALUMNI HOUSE                                                   Contingent
         BERKELEY, CA 94720
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.44     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,956.20
         CALIFORNIA SUPPLY NORTH, INC.
         P.O. BOX 39180                                                   Contingent
         LOS ANGELES, CA 90030-0180
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                            Amount of claim


3.45     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                  $155.13
         CALIFORNIA WATER SERVICE COMPANY
         LA (5884067301)                                                   Contingent
         P.O. BOX 51967
         LOS ANGELES, CA 90051-6267
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         5884067301
                                                                            No
                                                                            Yes




3.46     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                  $998.73
         CALIFORNIA WATER SERVICE COMPANY
         LA (1237519514)                                                   Contingent
         P.O. BOX 51967
         LOS ANGELES, CA 90051-6267
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         1237519514
                                                                            No
                                                                            Yes




3.47     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $1,156.93
         CALIFORNIA WATER SERVICE COMPANY
         SSF                                                               Contingent
         P.O. BOX 51967
         LOS ANGELES, CA 90051-6267
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         9128276830
                                                                            No
                                                                            Yes




3.48     Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $1,550.00
         CAPTIVEAIRE
         P.O. BOX 60270                                                    Contingent
         CHARLOTTE, NC 28260
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         596953
                                                                            No
                                                                            Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.49     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,971.42
         CEDAR GROVE ORGANICS RECYCLING LLC
         7343 E. MARGINAL WAY S.                                          Contingent
         SEATTLE, WA 98108
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         15585
                                                                           No
                                                                           Yes




3.50     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $22,254.95
         CHARLIE'S PRODUCE
         P.O. BOX 24606                                                   Contingent
         SEATTLE, WA 98124
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         75390
                                                                           No
                                                                           Yes




3.51     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                UNKNOWN
         CHARTIO
         222 KEARNY ST, STE 525                                           Contingent
         SAN FRANCISCO, CA 94108
                                                                          Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.52     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $644.40
         CHATDESK INC
         902 BROADWAY                                                     Contingent
         NEW YORK, NY 10010
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.53     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,771.12
         CHECKR
         440 N WOLFE RD, STE 2224                                         Contingent
         SUNNYVALE, CA 94085
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.54     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,981.40
         CIGNA - DENTAL
         5476 COLLECTIONS CENTER DR                                       Contingent
         CHICAGO, IL 60693
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.55     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $13,733.07
         CINTAS CORPORATION - 220 SHAW
         P.O. BOX 29059                                                   Contingent
         PHOENIX, AZ 85038-9059
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         8372
                                                                           No
                                                                           Yes




3.56     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $286,358.60
         CITY AND COUNTY OF SAN FRANCISCO
         C/O OLSE                                                         Contingent
         ATTN: BIANCA POLOVINA, COMPLIANCE OFFICER
         CITY HALL, RM 453
                                                                          Unliquidated
         1 DR. CARLTON B. GOODLETT PLACE                                  Disputed
         SAN FRANCISCO, CA 94102
                                                                      Basis for the claim:
         Date or dates debt was incurred                              SETTLEMENT AGREEMENT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                           Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                             Amount of claim


3.57     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,226.39
         CLUB DEMONSTRATION SERVICES, INC.
         P.O. BOX 744818                                                    Contingent
         ATLANTA, GA 30374-4818
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




3.58     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $35,407.77
         COGENT COMMUNICATIONS, INC.
         P.O. BOX 791087                                                    Contingent
         BALTIMORE, MD 21279-1087
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
         MUNCHERY00001
                                                                             No
                                                                             Yes




3.59     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,094.05
         COMCAST BUSINESS
         P.O. BOX 60533                                                     Contingent
         CITY OF INDUSTRY, CA 91716
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




3.60     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,315.72
         CONTINENTAL FLEET PAINT & BODY, INC.
         TERMINAL ANNEX                                                     Contingent
         P.O. BOX 86066
         LOS ANGELES, CA 90086
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.61     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $18,629.93
         COOL SOLUTIONS
         178 WEST HILL PL                                                 Contingent
         BRISBANE, CA 94005
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.62     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                UNKNOWN
         COSTARELLA SEAFOODS, INC.
         ATTENTION: STEPHEN M. BECKWITH                                X Contingent
         C/O LAW OFFICE OF STEPHEN M. BECKWITH
         ATTN: STEPHEN M. BECKWITH
                                                                       X Unliquidated
         1400 NORTH DUTTON, STE 21                                     X Disputed
         SANTA ROSA, CA 95401
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LITIGATION

         2/13/2019
         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.63     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $92,702.41
         COSTARELLA SEAFOODS, INC.
         PIER 45 SHED B, 8                                             X Contingent
         P.O. BOX 192484
         SAN FRANCISCO, CA 94119-2484
                                                                       X Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNC10
                                                                           No
                                                                           Yes




3.64     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $439.30
         COZZINI BROS., INC.
         350 HOWARD AVE                                                   Contingent
         DES PLAINES, IL 60018
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.65     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $70,632.65
         CROSSOVER MARKETS, INC.
         401 CONGRESS AVE, STE 2650                                       Contingent
         AUSTIN, TX 78701
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1881815482
                                                                           No
                                                                           Yes




3.66     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,750.00
         CRUMBLE & WHISK
         2948 FOLSOM ST                                                   Contingent
         SAN FRANCISCO, CA 94110
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.67     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,660.00
         CT CORPORATION
         P.O. BOX 4349                                                    Contingent
         CAROL STREAM, IL 60197-4349
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              COMPLIANCE



         Last 4 digits of account number                              Is the claim subject to offset?
         9401020069
                                                                           No
                                                                           Yes




3.68     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $838.25
         CUCINA FRESCA
         8300 MILITARY RD S, STE 120                                      Contingent
         SEATTLE, WA 98108
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
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3.69     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,252.86
         DANDELION CHOCOLATE INC
         740 VALENCIA ST                                                    Contingent
         SAN FRANCISCO, CA 94110
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
         432953424
                                                                             No
                                                                             Yes




3.70     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         DANLIES INC.
         383 BEACH RD                                                       Contingent
         BURLINGAME, CA 94010
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                VENDOR CREDIT



         Last 4 digits of account number                                Is the claim subject to offset?
         0
                                                                             No
                                                                             Yes




3.71     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $12,500.00
         DARBY SMART, INC
         830 MENLO AVE, STE 100                                             Contingent
         MENLO PARK, CA 94025
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




3.72     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,796.03
         DEIBEL LABORATORIES OF CALIFORNIA
         P.O. BOX 1056                                                      Contingent
         OSPREY, FL 34229-1056
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.73     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $149,556.11
         DEL MONTE MEAT
         P.O. BOX 101831                                                  Contingent
         PASADENA, CA 91189-1831
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         201994
                                                                           No
                                                                           Yes




3.74     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,922.66
         DIGILINK
         4676 ADMIRALTY WAY, STE 530                                      Contingent
         MARINA DEL REY, CA 90292
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.75     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $23,511.25
         DIGITAL INSURANCE, INC.
         ATTN: COMMISSIONS                                                Contingent
         200 GALLERIA PKWY, STE 1950
         ATLANTA, GA 30339
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.76     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $113,530.50
         DLA PIPER LLP
         P.O. BOX 75190                                                   Contingent
         BALTIMORE, MD 21275
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LEGAL



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.77     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,153.60
         DORA'S NATURALS, INC
         21 EMPIRE BLVD                                                   Contingent
         SOUTH HACKENSACK, NJ 07606
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         27743
                                                                           No
                                                                           Yes




3.78     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,708.50
         EARL'S ORGANIC PRODUCE
         2101 JERROLD AVE, STE 100                                        Contingent
         SAN FRANCISCO, CA 94124
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.79     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $33,817.92
         EC WILSON
         P.O. BOX 82473                                                   Contingent
         KENMORE, WA 98028
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.80     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $797.42
         ECOLAB FOOD SAFETY SPECIALTIES
         24198 NETWORK PL                                                 Contingent
         CHICAGO, IL 60673-1241
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         2903830
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.81     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $4,299.52
         ECOLAB, INC.
         P.O. BOX 100512                                                  Contingent
         PASADENA, CA 91189-0512
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         10453883
                                                                           No
                                                                           Yes




3.82     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,690.60
         ELKWOOD, INC.
         1736 64TH ST, 2ND FL                                             Contingent
         BROOKLYN, NY 11204
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.83     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,709.80
         EMSL ANALYTICAL
         3356 WEST CATALINA DR                                            Contingent
         PHOENIX, AZ 85017
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.84     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,875.00
         ENCORE OILS
         C/O SQPB                                                         Contingent
         P.O. BOX 10027
         EUGENE, OR 97440
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.85     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,638.98
         EPICUREAN BUTTER COMPANY, INC.
         9355 ELM CT                                                      Contingent
         FEDERAL HEIGHTS, CO 80260
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.86     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,200.00
         ERIN QUON
         410 VIEWPARK CT                                                  Contingent
         MILL VALLEY, CA 94941
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.87     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $12,380.00
         FARZANEH AMINI
         260 VICENTE ST                                                   Contingent
         SAN FRANCISCO, CA 94127
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LANDLORD



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.88     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $581.25
         FATTED CALF CHARCUTERIE
         644 C FIRST ST                                                   Contingent
         NAPA, CA 94559
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.89     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $20,237.37
         FEDEX
         P.O. BOX 223125                                                  Contingent
         PITTSBURGH, PA 15251-2125
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.90     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $46,162.22
         FENWICK & WEST
         SILICON VALLEY CENTER                                            Contingent
         801 CALIFORNIA ST
         MOUNTAIN VIEW, CA 94041
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LEGAL



         Last 4 digits of account number                              Is the claim subject to offset?
         30097
                                                                           No
                                                                           Yes




3.91     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,414.30
         FLATWORLD SOLUTIONS INC.
         PRINCETON FORRESTAL VILLAGE                                      Contingent
         116 VILLAGE BLVD, STE 200
         PRINCETON, NJ 08540
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.92     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,948.25
         FRESH GREEN, INC.
         1970 JERROLD AVE                                                 Contingent
         SAN FRANCISCO, CA 94124
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUN
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.93     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $9,585.19
         FRUIT BARN WHOLESALES INC.
         1728 OCEAN AVE, 209                                              Contingent
         SAN FRANCISCO, CA 94112
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.94     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $537.60
         GEYSER BEVERAGE
         174 LAWRENCE DR, C                                               Contingent
         LIVERMORE, CA 94551
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.95     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,900.00
         GLASSDOOR, INC.
         DEPARTMENT 3436                                                  Contingent
         P.O. BOX 123436
         DALLAS, TX 75312-3436
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.96     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $164.82
         GO GREEN DISTRIBUTION, INC.
         P.O. BOX 8072                                                    Contingent
         COVINGTON, WA 98042
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.97     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $9,190.50
         GOLDEN STATE OVERNIGHT DELIVERY SERVICE, INC.
         P.O. BOX 1907                                                    Contingent
         SAN RAMON, CA 94583
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.98     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                UNKNOWN
         GOOD STUFF DISTRIBUTOR, INC
         132 W HARRIS AVE                                              X Contingent
         SOUTH SAN FRANCISCO, CA 94080
                                                                       X Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LITIGATION

         02/06/2019
         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.99     Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $8,268.28
         GOOD STUFF DISTRIBUTOR, INC
         2000 MCKINNON AVE                                             X Contingent
         SAN FRANCISCO, CA 94124-1621
                                                                       X Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNCHERY
                                                                           No
                                                                           Yes




3.100    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $148,153.13
         GOOGLE
         DEPT 33654                                                       Contingent
         P.O. BOX 39000
         SAN FRANCISCO, CA 94139
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         765644
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.101    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $700.00
         GREENHOUSE SOFTWARE
         GREENHOUSE SOFTWARE, INC.                                        Contingent
         P.O. BOX 392683
         PITTSBURGH, PA 15251-9683
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.102    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,425.91
         GREENLEAF - 220 SHAW
         P.O. BOX 45192                                                   Contingent
         SAN FRANCISCO, CA 94145-0192
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNSSF
                                                                           No
                                                                           Yes




3.103    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,295.50
         GRUBMARKET
         21136 S WILMINGTON AVE, 300                                      Contingent
         CARSON, CA 90810
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.104    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $10,441.40
         GRUBMARKET DBA FRESH GREEN
         C/O MAGSTONE LAW                                                 Contingent
         ATTN: BING RYAN
         4633 OLD IRONSIDES DR, STE 160
                                                                          Unliquidated
         SANTA CLARA, CA 95054                                            Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LITIGATION



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.105    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $25,324.00
         HACK'S FOOD SAFETY
         3004 HAMPTON RD                                                  Contingent
         MARTINEZ, CA 94553
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.106    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $742.40
         HAIG'S DELICACIES
         25673 NICKEL PL                                                  Contingent
         HAYWARD, CA 94545
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.107    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,092.80
         HANSON & FITCH
         P.O. BOX 175                                                     Contingent
         DANVILLE, CA 94526
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.108    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,415.50
         HAPPY MOOSE JUICE
         P.O. BOX 24564                                                   Contingent
         SAN FRANCISCO, CA 94124
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.109    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,649.42
         HODO SOY BEANERY
         2923 ADELINE ST                                                  Contingent
         OAKLAND, CA 94608
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.110    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $300.00
         HOWELL ELECTRIC, INC.
         3390 VISO CT                                                     Contingent
         SANTA CLARA, CA 95054
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MOMUN
                                                                           No
                                                                           Yes




3.111    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,100.00
         HUNGRY ALMA
         15 PACIFIC BAY CIR, 201                                          Contingent
         SAN BRUNO, CA 94066
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.112    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $404.92
         HYGIENA LLC
         FILE 2007                                                        Contingent
         1801 W OLYMPIC BLVD
         PASADENA, CA 91199-2007
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
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3.113    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $56,304.72
         I. HALPER
         51 HOOK RD                                                       Contingent
         BAYONNE, NJ 07002
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNCHE
                                                                           No
                                                                           Yes




3.114    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $18,332.00
         INTELLIMIZE, INC.
         341 DWIGHT RD                                                    Contingent
         BURLINGAME, CA 94010
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.115    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $238.80
         INTERNATIONAL DELICACIES INC.
         2100 ATLAS RD, F                                                 Contingent
         RICHMOND, CA 94806
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.116    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $6,408.21
         ISCALE SOLUTIONS
         1 NORTH BRIDGE RD, 17-02                                         Contingent
         HIGH ST CENTER
         SINGAPORE, 179094
                                                                          Unliquidated
         SINGAPORE                                                        Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.117    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $21,048.80
         ITALFOODS, INC.
         205 SHAW RD                                                      Contingent
         SO SAN FRANCISCO, CA 94080
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.118    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,805.00
         ITERABLE
         71 STEVENSON ST                                                  Contingent
         SAN FRANCISCO, CA 94105
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.119    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $4,197.25
         JACOBS FARM
         DEPT 33339                                                       Contingent
         P.O. BOX 39000
         SAN FRANCISCO, CA 94139-3339
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.120    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,279.98
         JACOBSEN SALT CO.
         602 SE SALMON ST                                                 Contingent
         PORTLAND, OR 97214
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                             Amount of claim


3.121    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,428.35
         JOANIS MECHANICAL
         9849 17TH AVE S.W.                                                 Contingent
         P.O. BOX 360
         SEATTLE, WA 98146
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




3.122    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         JOSHUA JAMES EATON PHILLIPS AND CHRISTINA BROOKS
         C/O OUTTEN & GOLDEN LLP                                         X Contingent
         ATTN: GAIL LIN CHUNG, JACK A. RAISNER, RENE S. ROUPINIAN
         ONE CALIFORNIA ST, STE 1250
                                                                         X Unliquidated
         SAN FRANCISCO, CA 94111                                         X Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                LITIGATION

         02/11/2019
         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




3.123    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $226,937.69
         JTR AREA DISTRIBUTORS, INC.
         C/O HOPKINS CARLEY                                                 Contingent
         ATTN: BRECK E. MILDE
         70 S FIRST ST
                                                                            Unliquidated
         SAN JOSE, CA 95113                                                 Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                LITIGATION



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




3.124    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,000.00
         JULIE E. SMITH
         744 MARIN DR                                                       Contingent
         MILL VALLEY, CA 94941
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.125    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $18,214.82
         JULIUS SILVERT INC.
         P.O. BOX 824559                                                  Contingent
         PHILADELPHIA, PA 19182-4559
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         150512
                                                                           No
                                                                           Yes




3.126    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $42,928.22
         KAEL FOODS
         1636 GILBRETH RD                                                 Contingent
         BURLINGAME, CA 94010
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1210
                                                                           No
                                                                           Yes




3.127    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,450.72
         KIMINO DRINKS INC.
         ATTN: MARKUS SCHLAGETER                                          Contingent
         77 VAN NESS AVE, STE 101
         P.O. BOX 2008
                                                                          Unliquidated
         SAN FRANCISCO, CA 94102                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.128    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                   $95.00
         LA REFRIGERATION COLD SERVICE
         5104 W. WASHINGTON BLVD                                          Contingent
         LOS ANGELES, CA 90016
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.129    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $20,425.61
         LA SPECIALTY PRODUCE CO.
         ATTENTION: JUNE MONROE                                        X Contingent
         DBA SAN FRANCISCO SPECIALTY
         C/O RYNN & JANOWSKY, LLP
                                                                       X Unliquidated
         ATTN: JUNE MONROE                                             X Disputed
         4100 NEWPORT PL DR, STE 700
         NEWPORT BEACH, CA 92660                                      Basis for the claim:
         Date or dates debt was incurred                              LITIGATION

         09/22/2018
         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.130    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $4,800.00
         LANLOGIC, INC.
         248 RICKENBACKER CIR                                             Contingent
         LIVERMORE, CA 94551
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.131    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $297.80
         LEVEL 6 SHREDDING
         P.O. BOX 14061                                                   Contingent
         SAN FRANCISCO, CA 94114-0061
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.132    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $14,175.00
         LINKEDIN
         62228 COLLECTIONS CENTER DR                                      Contingent
         CHICAGO, IL 60693-0622
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
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3.133    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $43,797.89
         LITTLER MENDELSON, PC
         P.O. BOX 207137                                                  Contingent
         DALLAS, TX 75320-7137
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LEGAL



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.134    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $213.14
         LOB
         185 BERRY ST, STE 1510                                           Contingent
         SAN FRANCISCO, CA 94107
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.135    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $782.67
         LURTON MARKETING
         15245 MINNETONKA BLVD                                            Contingent
         MINNETONKA, MN 55345
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.136    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,026.24
         LUSAMERICA FOODS, INC.
         P.O. BOX 2563                                                    Contingent
         MORGAN HILL, CA 95038
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNCH
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.137    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $834.00
         LUXE SEAFOOD
         732 S. ALAMEDA ST                                                Contingent
         LOS ANGELES, CA 90021
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUN000
                                                                           No
                                                                           Yes




3.138    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $944.02
         MACRINA BAKERY
         19215 66TH AVE S                                                 Contingent
         KENT, WA 98032
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNCHY
                                                                           No
                                                                           Yes




3.139    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,801.60
         MARIE MORIN CANADA
         9995 AV DE CATANIA, E                                            Contingent
         BROSSARD, QC J4Z 3V6
         CANADA
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.140    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                UNKNOWN
         MARTIN BOGETZ
         108 TERRACE AVE, 2                                            X Contingent
         KENTFIELD, CA 94904-1531
                                                                       X Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LITIGATION

         2/14/2019
         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.141    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,966.60
         MATAGRANO INC
         P.O. BOX 2588                                                    Contingent
         S SAN FRANCISCO, CA 94083
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         16438
                                                                           No
                                                                           Yes




3.142    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,500.00
         MEAGHAN EDELSTEIN CONSULTANT
         4375 SUNSET CAY CIR                                              Contingent
         BOYNTON BEACH, FL 33436
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.143    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $532.93
         MEDOSWEET FARMS, INC.
         P.O. BOX 749                                                     Contingent
         KENT, WA 98035-0749
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.144    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $329.55
         MENUMAX
         ATTN: ANDREA BURNETT                                             Contingent
         P.O. BOX 2628
         FORT WORTH, TX 76113
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.145    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $13,589.06
         MERLINO FOODS
         P.O. BOX 80069                                                   Contingent
         SEATTLE, WA 98108
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         21800
                                                                           No
                                                                           Yes




3.146    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,190.68
         METRO LOCKSMITHS, INC.
         2045 DIVISADERO ST                                               Contingent
         SAN FRANCISCO, CA 94115
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.147    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,473.12
         METTLER-TOLEDO SAFELINE
         22677 NETWORK PL                                                 Contingent
         CHICAGO, IL 60673-1226
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.148    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $872.00
         MICRO-CHEM LABS, INC.
         9168 DE SOTO AVE                                                 Contingent
         CHATSWORTH, CA 91311
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                            Amount of claim


3.149    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $6,327.83
         MOBILE MODULAR
         P.O. BOX 45043                                                    Contingent
         SAN FRANCISCO, CA 94145-5043
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         Munchery
                                                                            No
                                                                            Yes




3.150    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $61,505.51
         MODESTO FOOD DISTRIBUTORS - SHAW
         7601 EL CAMINO REAL                                               Contingent
         COLMA, CA 94014-3107
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         216100
                                                                            No
                                                                            Yes




3.151    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $3,433.24
         MOQUIN PRESS, INC.
         555 HARBOR BLVD                                                   Contingent
         BELMONT, CA 94002
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




3.152    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                   $50.97
         MOUNTAIN MIST
         PAYMENT PROCESSING CENTER                                         Contingent
         P.O. BOX 84447
         SEATTLE, WA 98124-5747
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         0
                                                                            No
                                                                            Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.153    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,025.66
         MURRAY'S CHEESE WHOLESALE
         2519 BORDEN AVE                                                  Contingent
         LONG ISLAND CITY, NY 11101
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNCHERY
                                                                           No
                                                                           Yes




3.154    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,804.00
         MYRNA MALONEY
         7778 PERDEZ CT                                                   Contingent
         CITRUS HEIGHTS, CA 95610
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.155    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $4,718.50
         NATIVE BAKING COMPANY
         65 VICKSBURG ST                                                  Contingent
         SAN FRANCISCO, CA 94114
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.156    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $740.97
         NELSON-JAMESON INC.
         P.O. BOX 1147                                                    Contingent
         MARSHFIELD, WI 54449
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
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3.157    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $135.68
         NEOFUNDS
         P.O. BOX 30193                                                   Contingent
         TAMPA, FL 33630-3193
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         7900 0440 8012 6976
                                                                           No
                                                                           Yes




3.158    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,084.59
         NEW SYSTEM
         432 NE TENTH AVE                                                 Contingent
         PORTLAND, OR 97232
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         600030-00000
                                                                           No
                                                                           Yes




3.159    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $154,256.70
         NEXTDOOR.COM, INC.
         P.O. BOX 398963                                                  Contingent
         SAN FRANCISCO, CA 94139-8963
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.160    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $243.12
         NICHOLAS MARCHESO
         47 PANORAMA DR                                                   Contingent
         SAN FRANCISCO, CA 94131
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
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3.161    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $45,787.27
         OAKVILLE PRODUCE PARTNERS, LLC
         ATTENTION: MALCOLM LEADER-PICONE, KAIPO K.B. YOUNG            X Contingent
         C/O LEADER-PICONE & YONG
         ATTN: MALCOLM LEADER-PICONE, KAIPO K.B. YOUNG
                                                                       X Unliquidated
         1970 BROADWAY, STE 1030                                       X Disputed
         OAKLAND, CA 94612
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LITIGATION

         01/30/2019
         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.162    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $966.34
         ONE STOP GROCERY SUPPLY
         1435 51 ST, STE 5                                                Contingent
         N. BERGEN, NJ 07047
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.163    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,373.74
         ONTRAC
         P.O. BOX 841664                                                  Contingent
         LOS ANGELES, CA 90084-1664
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         190996
                                                                           No
                                                                           Yes




3.164    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $790.50
         ORKIN - 0602
         P.O. BOX 7161                                                    Contingent
         PASADENA, CA 91109-7161
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         28260602
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
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3.165    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $112.77
         ORKIN - 1223
         P.O. BOX 7161                                                    Contingent
         PASADENA, CA 91109-7161
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         27741223
                                                                           No
                                                                           Yes




3.166    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $710.40
         OTIS MCCALLISTER, INC.
         300 FRANK H OGAWA PLZ, STE 400                                   Contingent
         OAKLAND, CA 94612
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.167    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,576.06
         P&D APPLIANCE
         P.O. BOX 1577                                                    Contingent
         SAN BRUNO, CA 94066
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.168    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $632.89
         PACIFIC GOURMET
         380 VALLEY DR                                                    Contingent
         BRISBANE, CA 94005
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         M424
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
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3.169    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $1,000,000.00
         PAGEMILL PARTNERS
         C/O DUFF & PHELPS SECURITIES, LLC                                  Contingent
         ATTN: CHRISTIAN BENNETT
         1950 UNIVERSITY AVE, STE 400
                                                                            Unliquidated
         EAST PALO ALTO, CA 94303                                        X Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                LITIGATION



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




3.170    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,819.46
         PAN-O-RAMA BAKERY
         500 FLORIDA ST.                                                    Contingent
         SAN FRANCISCO, CA 94110
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
         180
                                                                             No
                                                                             Yes




3.171    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $324.45
         PARKS COFFEE CALIFORNIA, INC.
         P.O. BOX 110914                                                    Contingent
         CARROLLTON, TX 75011-0914
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
         0
                                                                             No
                                                                             Yes




3.172    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $23,999.40
         PAT LAFRIEDA
         3701 TONNELLE AVE                                                  Contingent
         NORTH BERGEN, NJ 07047
                                                                            Unliquidated
                                                                            Disputed
                                                                        Basis for the claim:
         Date or dates debt was incurred                                TRADE DEBT



         Last 4 digits of account number                                Is the claim subject to offset?
                                                                             No
                                                                             Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.173    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,939.97
         PEACOCK CHEESE
         5403 SANTA FE AVE                                                Contingent
         LOS ANGELES, CA 90058
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.174    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $13,959.18
         PEPPERJAM LLC
         P.O. BOX 787432                                                  Contingent
         PHILADELPHIA, PA 19178-7432
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.175    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                UNKNOWN
         PERFORMANCE FOOD GROUP, INC.
         ATTENTION: DAVID J COOK, ESQ                                  X Contingent
         C/O COOK COLLECTION ATTORNEYS PLC
         ATTN: DAVID J COOK, ESQ
                                                                       X Unliquidated
         165 FELL ST                                                   X Disputed
         SAN FRANCISCO, CA 94102
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LITIGATION

         02/14/2019
         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.176    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $80,783.39
         PERFORMANCE FOODS
         P.O. BOX 1801                                                 X Contingent
         SANTA CRUZ, CA 95061-1801
                                                                       X Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         62006078
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.177    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,995.52
         PETIT POT
         158 S SPRUCE AVE                                                 Contingent
         SOUTH SAN FRANCISCO, CA 94080
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         munchery LA
                                                                           No
                                                                           Yes




3.178    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,001.41
         PGS, INC.
         5291 BRIDGEWOOD DR.                                              Contingent
         LA PALMA, CA 90623
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.179    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,650.00
         POP AND BOTTLE INC.
         1290 SUTTER ST, STE 209                                          Contingent
         SAN FRANCISCO, CA 94110
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.180    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $113.22
         PUGET SOUND ENERGY
         BOT-1H                                                           Contingent
         P.O. BOX 91269
         BELLEVUE, WA 98009-9269
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         220004000000
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                          Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                            Amount of claim


3.181    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $1,065.29
         PURE WATER PARTNERS
         DEPT CH 19648                                                     Contingent
         PALATINE, IL 60055-9648
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         9816
                                                                            No
                                                                            Yes




3.182    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $1,722.00
         R & S ERECTION NORTH PENINSULA, INC.
         133 SOUTH LINDEN AVE                                              Contingent
         SOUTH SAN FRANCISCO, CA 94080
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




3.183    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $1,059.65
         RAFFETTO'S
         469 WEST COMMERCIAL AVE                                           Contingent
         MOONACHIE, NJ 07074
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         MUNCHE
                                                                            No
                                                                            Yes




3.184    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $1,100.81
         REFRIGIWEAR INC.
         54 BREAKSTONE DR                                                  Contingent
         DAHLONEGA, GA 30533
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.185    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $140.00
         RGB SODA LLC
         P.O. BOX 23176                                                   Contingent
         SEATTLE, WA 98102
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.186    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $19,292.77
         RIVIERA PRODUCE
         P.O. BOX 6065                                                    Contingent
         ENGLEWOOD, NJ 07631
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUN
                                                                           No
                                                                           Yes




3.187    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,330.84
         ROCKENWAGNER
         ROCKENWAGNER BAKERY                                              Contingent
         5462 W. ADAMS BLVD
         LOS ANGELES, CA 90016
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1035
                                                                           No
                                                                           Yes




3.188    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $136,713.77
         ROCKER BROS MEAT
         405 NO. CENTINELA AVE                                         X Contingent
         INGLEWOOD, CA 90302
                                                                       X Unliquidated
                                                                       X Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1516705
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.189    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                UNKNOWN
         ROCKER BROS. MEAT & PROVISION, INC.
         ATTENTION: JEFFREY GALEN                                          X Contingent
         C/O GALEN & DAVIS, LLP
         ATTN: JEFFREY GALEN
                                                                           X Unliquidated
         2945 TOWNSGATE RD, STE 200                                        X Disputed
         WESTLAKE VILLAGE, CA 91361
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  LITIGATION

         01/29/2019
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.190    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                UNKNOWN
         ROCKET RESTAURANT RESOURCE
         02940 7TH ST.                                                     X Contingent
         BERKELEY, CA 94710
                                                                           X Unliquidated
                                                                           X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TRADE DEBT



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.191    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $6,370.00
         RUNT CREATIVE, LLC
         3519 KOSO ST                                                         Contingent
         DAVIS, CA 95618
                                                                              Unliquidated
                                                                              Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  TRADE DEBT



         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.192    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                UNKNOWN
         RYDER
         11690 NW 105 ST                                                     Contingent
         MIAMI, FL 33178
                                                                           X Unliquidated
                                                                           X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred


         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.193    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,350.00
         SAFETYPARK
         13420 BEACH AVE                                                  Contingent
         MARINA DEL REY, CA 90292
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.194    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $405.00
         SALTY SWEET LLC
         219 CUMBERLAND ST, 1                                             Contingent
         SAN FRANCISCO, CA 94114
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.195    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $18,129.97
         SAN FRANCISCO SPECIALTY
         P.O. BOX 2293                                                    Contingent
         SANTA FE SPRINGS, CA 90670
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         689000
                                                                           No
                                                                           Yes




3.196    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $648.00
         SAVORY CREATIONS
         1900 O FARRELL ST, STE 180                                       Contingent
         SAN MATEO, CA 94403
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.197    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,032.07
         SEA SOUTHEAST ASIA MARKET LLC
         52 15TH ST                                                       Contingent
         BROOKLYN, NY 11215
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         M95-MP
                                                                           No
                                                                           Yes




3.198    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $7,500.00
         SEGMENT.IO, INC.
         100 CALIFORNIA ST, STE 700                                       Contingent
         SAN FRANCISCO, CA 94111
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.199    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $19,047.00
         SEMKKANN, LLC
         C/O AZOSE COMMERCIAL PROPERTIES                                  Contingent
         8451 SE 68TH ST, STE 200
         MERCER ISLAND, WA 98040
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LANDLORD



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.200    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $6,349.00
         SEMKKANN, LLC
         C/O AZOSE COMMERCIAL PROPERTIES                                  Contingent
         8451 SE 68TH ST, STE 200
         MERCER ISLAND, WA 98040
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.201    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $443.19
         SF - WATER
         P.O. BOX 7369                                                    Contingent
         SAN FRANCISCO, CA 94120-7369
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.202    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $10,712.00
         SMELLY MEL'S PLUMBLING
         300 SHAW RD                                                      Contingent
         SOUTH SAN FRANCISCO, CA 94080
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.203    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,783.75
         SOUTH SAN FRANCISCO SCAVENGER COMPANY, INC.
         500 EAST JAMIE CT                                                Contingent
         SOUTH SAN FRANCISCO, CA 94080
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.204    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $175.62
         SPRAGUE PEST SOLUTIONS
         P.O. BOX 2222                                                    Contingent
         TACOMA, WA 98401
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         10027372
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.205    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:               $207,423.10
         STATE FUND COMPENSATION INSURANCE
         P.O. BOX 7441                                                    Contingent
         SAN FRANCISCO, CA 94120-7441
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              INSURANCE



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.206    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $781.25
         STATION 1 FIRE PROTECTION
         2351 N. WATNEY WAY, A2                                           Contingent
         FAIRFIELD, CA 94533
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.207    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                   $75.00
         STUMPTOWN COFFEE ROASTERS
         100 SE SALMON ST                                                 Contingent
         PORTLAND, OR 97214
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.208    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $19,649.21
         SUPERIOR PAPER & PLASTICS
         1930 E 65TH ST                                                   Contingent
         LOS ANGELES, CA 90001
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                            Amount of claim


3.209    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $10,428.01
         SYSCO LOS ANGELES, INC.
         20701 E CURRIER                                                   Contingent
         WALNUT, CA 91789
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         56879
                                                                            No
                                                                            Yes




3.210    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $13,382.30
         TABLEART, INC.
         8024 MELROSE AVE                                                  Contingent
         LOS ANGELES, CA 90046
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               LANDLORD



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




3.211    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $5,594.40
         TEA CRUSH
         139 MITCHELL AVE, 112 SOUTH                                       Contingent
         SAN FRANCISCO, CA 94080
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




3.212    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $35,441.22
         TF CORNERSTONE/95-97 HORATIO LLC
         387 PARK AVE S, 7TH FL                                            Contingent
         NEW YORK, NY 10016
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               LANDLORD



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.213    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $14,659.15
         THE CHEFS' WAREHOUSE - LA
         P.O. BOX 601154                                                  Contingent
         PASADENA, CA 91189-1154
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1087671
                                                                           No
                                                                           Yes




3.214    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $9,067.21
         THE CHEFS' WAREHOUSE - NY
         P.O. BOX 30943                                                   Contingent
         NEW YORK, NY 10087-0943
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1075864
                                                                           No
                                                                           Yes




3.215    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,399.10
         THE CHEFS' WAREHOUSE - SEA
         P.O. BOX 601154                                                  Contingent
         PASADENA, CA 91189-1154
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         1076066
                                                                           No
                                                                           Yes




3.216    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,911.75
         THE CHEFS' WAREHOUSE - SF
         P.O. BOX 601154                                                  Contingent
         PASADENA, CA 91189-1154
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         763526
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.217    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $52,246.80
         THE PRODUCE COMPANY
         60 AIRPORT BLVD                                                  Contingent
         SOUTH SAN FRANCISCO, CA 94080
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.218    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $12,247.84
         THERMAL SHIPPING SOLUTIONS
         38 MILLER AVE, 252                                               Contingent
         MILL VALLEY, CA 94941
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         Munchery
                                                                           No
                                                                           Yes




3.219    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $18,044.44
         THREE BABES BAKESHOP
         2501 PHELPS ST                                                   Contingent
         SAN FRANCISCO, CA 94124
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.220    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $364.46
         TOM CAT BAKERY
         43-05 10TH ST                                                    Contingent
         LONG ISLAND CITY, NY 11101
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         MUNC50
                                                                           No
                                                                           Yes




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Debtor Name            Munchery, Inc.                                                          Case number (if known): 19-30232

   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                            Amount of claim


3.221    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $4,479.73
         TOMALES BAY FOODS
         2080 LAKEVILLE HWY                                                Contingent
         PETALUMA, CA 94954
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
         DJPB
                                                                            No
                                                                            Yes




3.222    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                 $2,521.84
         TONY'S FINE FOODS
         P.O. BOX 1501                                                     Contingent
         WEST SACRAMENTO, CA 95605-1501
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               TRADE DEBT



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




3.223    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $22,510.00
         TOWNHOUSE MANAGEMENT
         (FIRST YORK 86TH STREET COMPANY)                                  Contingent
         70 EAST 55TH ST
         NEW YORK, NY 10022
                                                                           Unliquidated
                                                                           Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               LANDLORD



         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




3.224    Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:                $24,041.33
         TRIPLE B CORPORATION, DBA CHARLIE’S PRODUCE
         C/O SUSSMAN SHANK LLP                                          X Contingent
         ATTN: JEFFREY C. MISLEY, KRISTEN G. HILTON
         1000 SW BROADWAY, STE 1400
                                                                        X Unliquidated
         PORTLAND, OR 97205-3089                                        X Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               LITIGATION

         11/21/2018
         Last 4 digits of account number                               Is the claim subject to offset?
                                                                            No
                                                                            Yes




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Debtor Name            Munchery, Inc.                                                         Case number (if known): 19-30232

   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.225    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $900.00
         TRUSTPILOT INC.
         245 FIFTH AVE, 5TH FL                                            Contingent
         NEW YORK, NY 10016
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.226    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                   $34.80
         TSUE CHONG COMPANY, INC.
         800 SOUTH WELLER ST                                              Contingent
         SEATTLE, WA 98104
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         113250
                                                                           No
                                                                           Yes




3.227    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $7,500.00
         UA CONNECTED FITNESS
         211 WALTER SEAHOLM DR, STE 200                                   Contingent
         AUSTIN, TX 78701
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.228    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $418.75
         UCS
         1600 DONNER AVE                                                  Contingent
         SAN FRANCISCO, CA 94124
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         279
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.229    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $8,803.79
         ULINE - 220 SHAW
         ATTN: ACCOUNTS RECEIVABLE                                        Contingent
         P.O. BOX 88741
         CHICAGO, IL 60680-1741
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         8525205
                                                                           No
                                                                           Yes




3.230    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $40,139.00
         UNFI - CA
         P.O. BOX 742930                                                  Contingent
         LOS ANGELES, CA 90074-2930
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         42301
                                                                           No
                                                                           Yes




3.231    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $2,392.98
         UNIFIED PAPER & PACKAGING, INC.
         1809 EAST 42ND ST                                                Contingent
         LOS ANGELES, CA 90058
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         9670
                                                                           No
                                                                           Yes




3.232    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,900.00
         UNIVERSAL STEAM
         P.O. BOX 589                                                     Contingent
         OAKLEY, CA 94561
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.233    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $1,383.78
         USDA
         US BANK - FSIS LOCKBOX                                           Contingent
         P.O. BOX 979001
         ST. LOUIS, MO 63179-9001
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              COMPLIANCE



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.234    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $748.56
         VALLEY HARVEST PRODUCTS
         624 WORTHEN ST                                                   Contingent
         BRONX, NY 10474
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.235    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $5,268.50
         VIGNETTE SODA LLC
         2625 ALCATRAZ AVE, 274                                           Contingent
         BERKELEY, CA 94705
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.236    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $134.70
         WESNICK INC
         19 FOREST AVE                                                    Contingent
         LAKE GROVE, NY 11755
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.237    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $10,135.70
         WHITE PLAINS LINEN
         4 JOHN WALSH BLVD                                                Contingent
         PEEKSKILL, NY 10566
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         28153
                                                                           No
                                                                           Yes




3.238    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $15,913.50
         WINDSOR OWNERS CORP
         250 PARK AVE S, 4TH FL                                           Contingent
         NEW YORK, NY 10003
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LANDLORD



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.239    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $15,913.50
         WINDSOR OWNERS CORP
         250 PARK AVE S, 4TH FL                                           Contingent
         NEW YORK, NY 10003
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.240    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $67,180.00
         WOODRUFF-SAWYER & CO.
         P.O. BOX 45057                                                   Contingent
         SAN FRANCISCO, CA 94145-9950
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              LEGAL



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.241    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $900.00
         WORLD LANGUAGE COMMUNICATIONS
         1800 CENTURY PARK E, STE 600                                     Contingent
         LOS ANGELES, CA 90067
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.242    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $3,499.60
         XEROX
         P.O. BOX 202882                                                  Contingent
         DALLAS, TX 75320-2882
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
                                                                           No
                                                                           Yes




3.243    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                $16,665.26
         XO COMMUNICATIONS
         P.O. BOX 15043                                                   Contingent
         ALBANY, NY 12212-5043
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         4000000000000
                                                                           No
                                                                           Yes




3.244    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                 $8,562.12
         YEE YUEN LINEN SERVICE
         2575 S. NORMANDIE AVE                                            Contingent
         LOS ANGELES, CA 90007
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         560
                                                                           No
                                                                           Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                           Amount of claim


3.245    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                  $104.88
         YOUR COPIER SOURCE LLC
         P.O. BOX 1749                                                    Contingent
         NOVATO, CA 94948
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




3.246    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:                   $52.44
         YOUR COPIER SOURCE LLC
         P.O. BOX 1749                                                    Contingent
         NOVATO, CA 94948
                                                                          Unliquidated
                                                                          Disputed
                                                                      Basis for the claim:
         Date or dates debt was incurred                              TRADE DEBT



         Last 4 digits of account number                              Is the claim subject to offset?
         0
                                                                           No
                                                                           Yes




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  Part 4:         Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1                                                                                         $83,479.25


5b. Total claims from Part 2                                                                                    $7,619,084.99



5c. Total claims of Parts 1 and 2
                                                                                                                $7,702,564.24
    Lines 5a + 5b = 5c




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